

People v DeJean (2022 NY Slip Op 03056)





People v DeJean


2022 NY Slip Op 03056


Decided on May 05, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 05, 2022

Before: Gische, J.P., Kern, Oing, González, Scarpulla, JJ. 


Ind No. 5644/14 Appeal No. 15891 Case No. 2017-2306 

[*1]The People of the State of New York, Respondent,
vGiscard DeJean, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Pauline Syrnik of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Catherine Marotta of counsel), for respondent.



Order, Supreme Court, New York County (Melissa C. Jackson, J.), entered on or about August 17, 2016, which adjudicated defendant a level three sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court correctly assessed defendant 30 and 10 points, respectively, under the risk factors for prior sex crime and recency of prior sex crime, based on his prior conviction of forcible touching, in violation of Penal Law § 130.52. That crime is a misdemeanor sex crime for purposes of these risk factors (see People v Garcia, 192 AD3d 833, 833 [2d Dept 2021], lv denied 37 NY3d 910 [2021]), notwithstanding that it is not a registrable sex offense.
The court properly exercised its discretion when it declined to grant a downward departure (see People v Gillotti, 23 NY3d 841 [2014]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 5, 2022








